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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

RACHEL GALARZA
                                                                     CIVIL ACTION
VERSUS
                                                                     12-722-JJB-RLB
OCHSNER HEALTH SYSTEMS, INC.

                                    JUDGMENT


       For written reasons assigned;

       IT IS ORDERED, ADJUDGED AND DECREED that judgment be entered in

favor of defendant and against plaintiff.

              Signed in Baton Rouge, Louisiana, on April 14, 2014.


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                                       JUDGE JAMES J. BRADY
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                                       UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF LOUISIANA
